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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



 THE ESTATE OF GENE B. LOKKEN,                 Civil File No. 23-CV-03514 (JRT/SGE)
 GLENNETTE KELL, DARLENE
 BUCKNER, CAROL CLEMENS,
 FRANK CHESTER PERRY, THE
 ESTATE OF JACKIE MARTIN, JOHN J.
 WILLIAMS, AS TRUSTEE OF THE
 MILES AND CAROLYN WILLIAMS
 1993 FAMILY TRUST, and WILLIAM
 HULL, individually and on behalf of all
 others similarly situated,                                    ORDER

                 Plaintiffs,

 vs.

 UNITEDHEALTH GROUP, INC.,
 UNITED HEALTHCARE, INC.,
 NAVIHEALTH, INC. and Does 1-50,
 inclusive,

                 Defendants.



       This matter is before the Court, United States Magistrate Judge Shannon G. Elkins,

on the plaintiff’s Unopposed Motion for Substitution of Parties (Dkt. No. 85). Based upon

the Unopposed Motion, the contemporaneously filed Declaration of Mary Marfisee (Dkt.

No. 87), and all the files, records, and proceedings herein, IT IS HEREBY ORDERED

that the Motion (Dkt. No. 85) be GRANTED and Mary Marfisee, as personal

representative of the Estate of Frank Chester Perry, be substituted as Plaintiff for Frank

Chester Perry.
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     IT IS SO ORDERED.

Dated: November 14, 2024          s/ Shannon G. Elkins
                                  SHANNON G. ELKINS
                                  United States Magistrate Judge

                                  Estate of Gene B. Lokken v. UnitedHealth
                                  Group, Inc.
                                  Case No. 23-cv-3514 (JRT/SGE)
